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UNITED STATES COURT OF INTERNATIONAL TRADE
BEFORE: HON. GARY S. KATZMANN, JUDGE
--------------------------------------------------------------------- X
ROOT SCIENCES, LLC,                                                    :
                                                                       :
                 Plaintiff,                                            :
                                                                       :
                 v.                                                    :        No. 21-00123
                                                                       :
UNITED STATES,                                                         :
                                                                       :
                 Defendant.                                            :
--------------------------------------------------------------------- X

                                        NOTICE OF APPEAL

        Notice is hereby given that Plaintiff, Root Sciences, LLC, in the above-captioned action,

hereby appeals to the United States Court of Appeals for the Federal Circuit, pursuant to Federal

Rule of Appellate Procedure 4(a)(4)(A)(iv), from the final judgment entered on October 7, 2021

following the issuance of Slip Op. 21-136; and from the March 15, 2022 denial of its Motion for

Reconsideration (see Slip Op. 22-26), which was filed in accordance with Rule 59 of the Rules of

the United States Court of International Trade.

                                                      Respectfully submitted,

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Dated: May 13, 2022
